     Case 1:05-cr-00033-AW-GRJ            Document 173        Filed 08/09/06   Page 1 of 1


                                                                                        Page 1 of 1


                    IN THE UNITED STATES DISTRICT COURT FOR THE
                           NORTHERN DISTRICT OF FLORIDA
                                GAINESVILLE DIVISION

UNITED STATES OF AMERICA

v.                                                              CASE NO. 1:05-cr-00033-MP-AK

CHARLES WRIGHT,

       Defendant.

________________________________/

                                            ORDER

       This matter is before the Court on Doc. 164, Joint Motion to Continue Trial for a Date

Certain. A telephone conference was held on August 8, 2006. The motion is granted.

Accordingly, trial is hereby re-set to the September 26, 2006 trial period.


       DONE AND ORDERED this             9th day of August, 2006.


                                       s/Maurice M. Paul
                                  Maurice M. Paul, Senior District Judge
